  Case 4:14-cv-00909-A Document 56 Filed 11/30/15                                 Page  1 of 1 PageID 721
                                                                                    .----------·---··--·····--............... ..
                                                                                                      l'S            "



                  IN THE UNITED STATES DISTRICT                                       OURT        r-··-·-··-·····
                                                                                                            FII.

                      NORTHERN DISTRICT OF TEXAS                                                  /    11JY 3 Q 20f5
                               FORT WORTH DIVISION
                                                                                                            .............................~..l
DAWN A. CADDELL, ET AL.        I                §                                             CLfRK, lJ.S. OISTI<ICT COlin
                                                §
             Plaintiffs,                        §
                                                §
vs.                                             §        NO. 4:14-CV-909-A
                                                §
OAKLEY TRUCKING, INC.      I   ET AL.   I       §
                                                §
             Defendants.                        §


                                   FINAL JUDGMENT

      In accordance with the agreed stipulation of dismissal filed

this date,

      The court ORDERS, ADJUDGES, and DECREES that all claims

asserted by plaintiffs, Dawn A. Caddell and Louis Delarosa,

against defendants, Oakley Trucking, Inc., and Jilleta Baxter, as

an heir to the Estate of John Patrick Baxter, Deceased, or as an

executrix, administrator, or personal representative of the

Estate of John Patrick Baxter, Deceased, be, and are hereby,

dismissed with prejudice.

      The court further ORDERS, ADJUDGES, and DECREES that each

party bear the court costs incurred by that party.

      SIGNED November 30, 2015.                                            ,..~

                                                             _,_,.-·
                                                                       //···
                                                        /'             ~
                                                    /          /
                                            /
                                                /1. / /
